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                                                                                   Jeffrey R. Waxman
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                                             April 28, 2022

 BY HAND DELIVERY AND CM/ECF
 The Honorable Thomas L. Ambro
 U.S. District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 North King Street Unit 26
 Room 6124
 Wilmington, DE 19801-3555

         Re:    In re: Mallinckrodt, plc; 1:22-cv-333-TLA

Dear Judge Ambro:

      Morris James LLP, together with Brown Rudnick LLP, Kramer Levin Naftalis & Frankel
LLP, and Gilbert LLP represents the Governmental Plaintiff Ad Hoc Committee (the
“Governmental Ad Hoc Committee”) in the bankruptcy cases of Mallinckrodt PLC, et al.

        On April 15, 2022, the Ad Hoc Governmental Committee, on behalf of itself, the Multi-
State Governmental Entities Group, the Future Claimants’ Representative, and the Official
Committee of Opioid Related Claimants (collectively, the Proposed Intervenors”) filed a joint
motion to intervene in the above-captioned appeal [Docket No. 7] (the “Motion to Intervene”).
Prior to the filing of the Motion to Intervene, the Appellant confirmed that it had no objection to
the proposed intervention, and no objection or other responsive pleading has been filed in
opposition to the Motion to Intervene.




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April 28, 2022
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       The Proposed Intervenors request entry of an order, a copy of which is attached hereto, at
the Court’s earliest convenience.


                                            Respectfully submitted,




                                            Jeffrey R. Waxman
                                            DE Bar No. 4159
                                            Counsel for Governmental Plaintiff Ad Hoc
                                            Committee


cc: All Counsel of Record via CM/ECF




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